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AO 442 (Rev. 11111) Arrest Warrant



                                            UNITED STATES DISTRICT COURT
                                                                        for the

                                                                 District of Columbia

                        United States of America
                                   v.                                     )       Case: 1:21-mj-00427
                                                                          )       Assigned tQ: Judge Faruqu i Zia M,
                    Jonathan Ace Sanders, Sr.
                                                                          )
                                                                                  Assign Date: 5/14/2021
                                                                          )
                                                                                  Description: COMPLAINT W/ARREST                            WARRANT
                                                                          )
                                                                          )
                                Defendant


                                                            ARREST WARRANT
To:         Any authorized law enforcement officer

            YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                Jonathan Ace Sanders, Sr.
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment             0 Superseding Indictment             0 Information         0 Superseding Information           N Complaint
o     Probation Violation Petition               0 Supervised Release Violation Petition         o Violation   Notice       0 Order of the Court

This offense is briefly described as follows:

 18 U.S.c.        § 1752(a)(1) and (2) - Knowingly Entering or Remaining in any Restricted Building or Grounds
 Without Lawful Authority;
 40 U.S.C. § 5104(e)(2)(D) and (G) - Violent Entry and Disorderly Conduct on Capitol Grounds.

                                                                                                               2021.05.14
                                                                                        ·fis                   17:20:46 -04'00'
Date:              05/14/2021
                                                                                                 Issuing officer's signature


City and state:          ________ W~a~s_h_in~on,~D_._C_. _                              Zia M. Farugui, U.S. Magistrate Jud e
                                                                                                   Printed name and title


                                                                        Return

            This warrant was received on         (date)    511 j /2of).)      ,and the person was arrested on     (date) -='-I-JLL=--o~--"""-''--''''''-+
at   (city and state)      V,~I')C~ '\Ae    SI    .I. rJ     I     (.


Date       .5'jrp f ~OJ\
                                                                                                   Printed name and title
